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                IN T H E UNITED STATES D I S T R I C T COVRT A j j            tm-U.^.
              F O R T H E NORTHERN D I S T R I C T OF G E O R G I A
                            ATLANTA DIVISION

NEMIAS CINTORA-GONZALEZ,                       MOTION TO VACATE
    Movant,                                    28 U.S.C. § 2255

      v.                                       CRIMINAL NO.
                                               1:12-CR-0078-ODE-RGV-1
UNITED STATES OF AMERICA,
    Respondent.                                CIVIL ACTIONNO.
                                               1:15-CV-2349-ODE-RGV

                                      ORDER

      This matter is currently before the Court on Nemias Cintora-Gonzalez's

objections [Doc. 356] to the Final Report and Recommendation ("R&R") issued by

Magistrate Judge Russell G. Vineyard [Doc. 345], which recommends that Cintora-

Gonzalez's 28 U.S.C. § 2255 motion be denied. In reviewing a Magistrate Judge's

Report and Recommendation, the district court "shall make a de novo determination

of those portions of the report or specified proposed findings or recommendations to

which objection is made." 28 U.S.C. § 636(b)(1). "Parties filing objections to a

magistrate's report and recommendation must specifically identify those findings

objected to. Frivolous, conclusive, or general objections need not be considered by

the district court." United States v. Schultz. 565 F.3d 1353,1361 (11th Cir. 2009) (per

curiam) (quoting Marsden v. Moore. 847 F.2d 1536, 1548 (11th Cir. 1988)) (intemal
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quotation marks omitted). Absent objection, the district judge "may accept, reject, or

modify, in whole or in part, the findings and recommendations made by the magistrate

judge," 28 U.S.C. § 636(b)(1), and "need only satisfy itself that there is no clear error

on the face of the record in order to accept the recommendation," Fed. R. Civ. P. 72,

advisory committee note, 1983 Addition, Subdivision (b). Further, "the district court

has broad discretion in reviewing a magistrate judge's report and recommendation"

- it "does not abuse its discretion by considering an argument that was not presented

to the magistrate judge" and "has discretion to decline to consider a party's argument

when that argument was not first presented to the magistrate judge." Williams v.

McNeil 557 F.3d 1287, 1290-92 (11th Cir. 2009).

       A federal grand jury in the Northem District of Georgia retumed a nine count

indictment against Cintora-Gonzalez and five co-defendants, charging Cintora-

Gonzalez in Count One with conspiracy to distribute at least 500 grams of

methamphetamine and at least 5 kilograms of cocaine, in violation of 21 U.S.C.

§§ 846, 841(b)(l)(A)(viii), and (b)(l)(A)(ii); in Count Two with possession with

intentto distribute cocaine, in violafion of §§ 841(a)(1), (b)(1)(C), andlS U.S.C. § 2;

in Count Three with possession with intent to distribute methamphetamine, in

violation of §§ 841(a)(1), (b)(1)(C), andlSU.S.C. § 2; in Count Four with possession

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             of a firearm in furtherance of a drug-trafficking crime, in violation of 18 U.S.C.

             §§ 924(c)(l)(A)(i), (c)(l)(B)(i), and 2; in Count Six with possession of a firearm by

             an illegal alien, in violation of 18 U.S.C. §§ 922(g)(5), 924(a)(2); and in Count Eight

             with possession of counterfeit federal reserve notes, in violation of 18 U.S.C. § 472.

             [Doc. 49]. Cintora-Gonzalez pleaded not guilty [Doc. 76], and proceeded to a four-

             day jury trial represented by court-appointed counsel Sandra Louise Michaels

             ("Michaels") [Docs. 78,171-74,280-83]. The jury found Cintora-Gonzalez guilty of

             all counts and further specifically found that Count One involved at least 500 grams

             of methamphetamine and at least 5 kilograms of cocaine. [Doc. 176]. At sentencing,

             the Court

                   found that Cintora-Gonzalez's base offense level for the drug offenses
                   was 34 given the amount of drugs involved, that he served as the leader
                   of the charged conspiracy, and that he maintained a premises for
                   distributing drugs. With respect to the § 922(g) offense, the court found
                   that he possessed 17 firearms. His corresponding guidelines range was
                   292 to 365 months' imprisonment for the drug offenses, the § 922(g)
                   offense, and the counterfeiting offense. Count 4, the § 924(c) offense,
                   carried a consecutive statutory mandatory minimum sentence of 60
                   months' imprisonment. The court sentenced him to a total sentence of
                   352 months, which resulted from a sentence at the low end of the
                   guidelines range plus a mandatory 60 month term on Count 4.

             United States v. Cintora-Gonzalez. 569 F. App'x 849, 851 (11th Cir. 2014) (per

             curiam).




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                   Cintora-Gonzalez, still represented by Michaels, appealed, arguing that: (1) the

             Court erred by allowing testimony that Cintora-Gonzalez planned to kill someone who

             owed him money for drugs; (2) the Court erred by denying Cintora-Gonzalez any

             points for acceptance of responsibility when he admitted all the elements of each

             count and entered into trial stipulations and where his only argument concemed the

             amount of drugs; (3) the Court erred when it found Cintora-Gonzalez responsible for

             the guns found in the trunk of a co-defendant's car and increased his base offense

             level by four points pursuant to U.S.S.G. § 2K2.1(b)(l)(B); (4) the Court erred by

             relying solely on the agents' interpretation of wiretap calls to determine relevant

             conduct at sentencing and by not making specific individualized fact findings as to the

             amount of drugs; (5) the Court erred by applying a two-point enhancement for

             maintaining a premise for the purpose of manufacturing or distributing a controlled

             substance pursuantto U.S.S.G. § 2Dl.l(b)(12); and (6) Cintora-Gonzalez's sentence

             was unreasonable. Br. of Appellant at 7-22. Cintora-Gonzalez. 569 F. App'x 849 (No.

             13-13157-B), 2013 WL 5958826, at *7-22. On June 24, 2014, the Eleventh Circuit

             affirmed Cintora-Gonzalez's convictions and sentences. Cintora-Gonzalez. 596 F.

             App'x at 859.




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      On June 10, 2015, Cintora-Gonzalez timely submitted this pro se § 2255

motion, arguing that: (1) Michaels provided him ineffective assistance by failing to

properly advise him regarding the sentencing benefits to pleading guilty versus going

to trial and by advising him to take the drug quantity disagreement to trial, rather than

procuring a favorable plea agreement that would have allowed him to dispute drug

quantity "at an appropriate evidentiary hearing" and would have resulted in a lower

sentence; (2) Michaels was also ineffective for failing to argue that the four-level

enhancements he received under § 2K2.1(b)(1)(B) for possessing between eight and

twenty-four guns and under U.S.S.G. § 3B1.1 (a) for being an organizer/leader, as well

as the drug quantity used to determine his base offense level under U.S.S.G.

§ 2D 1.1 (c)(3), were elements of the offense that, pursuant to Alleyne v. United States.

133 S. Ct. 2151 (2013), should have been found by ajury; and (3) his due process

rights were violated when these sentencing guidelines determinations were not made

by ajury.    [Doc. 318-1 at 3-9]. The govemment responds that all of Cintora-

Gonzalez's claims lack merit. [Doc. 323]. Cintora-Gonzalez replies, reasserting the

merits of his grounds for relief [Doc. 340].

       The Magistrate Judge found that Cintora-Gonzalez could not show prejudice

as to ground one because (1) he would not admit to the drug amount insisted upon by

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the govemment in order to plead guilty, (2) the Court would not have granted him an

acceptance of responsibility reduction had he pleaded guilty while still disputing the

drug amount, and (3) his assertion that he would have received a lesser sentence had

he pleaded guilty is pure speculation. [Doc. 345 at 8-11]. Regarding grounds two and

three, the Magistrate Judge determined that there was no Alleyne error because (1) the

jury's drug quantity finding as to Count One and guilty verdict on Count Four

triggered the statutory maximum and minimum penalties, and (2) the Court's

imposition of four-level enhancements under both § 2K2.1(b)(1)(B) and § 3Bl.l(a)

affected only Cintora-Gonzalez's guidelines calculation and not his statutory

minimum or maximum. [Id. at 12-13]. Thus, the Magistrate Judge concluded,

counsel's failure to raise these meritless claims did not constitute ineffective

assistance. [Id. at 13].

      Cintora-Gonzalez bases his objections on the erroneous assertion that the jury

made no finding as to drug quantity. [Doc. 356]. In fact, the jury found that Count

One involved at least 500 grams of methamphetamine and at least 5 kilograms of

cocaine. [Doc. 176 at 1-2; Doc. 283 at 141]. After careful consideration, the Court

fmds that the Magistrate Judge's factual and legal conclusions were correct and that

Cintora-Gonzalez's objections have no merit.

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      Accordingly, the Court ADOPTS the R&R [Doc. 345] as the opinion and order

ofthe Court, DENIES this § 2255 motion [Doc. 318], and D E C L I N E S to issue a

certificate of appealability. The Clerk is D I R E C T E D to close this case.




      SO ORDERED, this                  day of December, 2015.




                                  ORINDA D. EVANS
                                  UNITED STATES DISTRICT JUDGE
